       Case 3:21-cv-09595-WHO Document 1 Filed 12/13/21 Page 1 of 14




 1
     STEPHEN M. LOBBIN
     sml@smlavvocati.com
 2   SML AVVOCATI P.C.
 3
     888 Prospect Street, Suite 200
     San Diego, California 92037
 4   (949) 636-1391 (Phone)
 5
     Attorney(s) for Display Technologies, LLC
 6

 7
                     IN THE UNITED STATES DISTRICT COURT
 8                FOR THE NORTHERN DISTRICT OF CALIFORNIA
 9

10
      DISPLAY TECHNOLOGIES, LLC,
                                                     CASE NO.:
11                       Plaintiff,
                                                     PATENT CASE
12    v.
                                                     JURY TRIAL DEMANDED
13
      A&D MEDICAL COMPANY,
      LIMITED,
14                                                   COMPLAINT
15                       Defendant.
16

17         Plaintiff Display Technologies, LLC (“Plaintiff” and/or “Display”) files this
18   Complaint against A&D Medical Company, Limited (“Defendant” and/or “A&D
19   Medical”) for infringement of United States Patent No. 9,300,723 (the “ ‘723
20   Patent”).
21                            PARTIES AND JURISDICTION
22         1.     This is an action for patent infringement under Title 35 of the United
23   States Code. Plaintiff is seeking injunctive relief as well as damages.
24         2.     Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331
25   (Federal Question) and 1338(a) (Patents) because this is a civil action for patent
26   infringement arising under the United States patent statutes.
27         3.     Plaintiff is a Texas limited liability company with an address of 1 East
28   Broward Boulevard, Suite 700, Ft. Lauderdale, FL 33301.
                                              1
                        COMPLAINT AGAINST A&D MEDICAL COMPANY, LIMITED
        Case 3:21-cv-09595-WHO Document 1 Filed 12/13/21 Page 2 of 14




 1          4.     On information and belief, Defendant is a California corporation with a
 2   principal place of business at 1756 Automation Parkway, San Jose, CA 95131. On
 3   information and belief, Defendant may be served through its Copyright Agent.
 4          5.     This Court has personal jurisdiction over Defendant because Defendant
 5   has committed, and continues to commit, acts of infringement in this District, has
 6   conducted business in this District, and/or has engaged in continuous and systematic
 7   activities in this District.
 8          6.     Upon information and belief, Defendant’s instrumentalities that are
 9   alleged herein to infringe were and continue to be used, imported, offered for sale,
10   and/or sold in this District.
11                                           VENUE
12          7.     On information and belief, venue is proper in this District under 28
13   U.S.C. § 1400(b) because Defendant is a resident of this District. Alternatively, acts
14   of infringement are occurring in this District and Defendant has a regular and
15   established place of business in this District.
16                                          COUNT I
17         (INFRINGEMENT OF UNITED STATES PATENT NO. 9,300,723)
18          8.     Plaintiff incorporates paragraphs 1 through 7 herein by reference.
19          9.     This cause of action arises under the patent laws of the United States
20   and, in particular, under 35 U.S.C. §§ 271, et seq.
21          10.    Plaintiff is the owner by assignment of the ‘723 Patent with sole rights
22   to enforce the ‘723 Patent and sue infringers.
23          11.    A copy of the ‘723 Patent, titled “Enabling social interactive wireless
24   communications,” is attached hereto as Exhibit A.
25          12.    The ‘723 Patent is valid, enforceable, and was duly issued in full
26   compliance with Title 35 of the United States Code.
27          13.    Defendant has infringed and continues to infringe one or more claims,
28   including at least Claim 1 of the ‘723 Patent by making, using, and/or selling media
                                                2
                          COMPLAINT AGAINST A&D MEDICAL COMPANY, LIMITED
       Case 3:21-cv-09595-WHO Document 1 Filed 12/13/21 Page 3 of 14




 1   systems covered by one or more claims of the ‘723 Patent. For example, Defendant
 2   makes, uses, and/or sells the A&D Connect app, A&D BP monitor, associated
 3   software, hardware and/or apps, and any similar products (“Product”). Defendant has
 4   infringed and continues to infringe the ‘723 Patent in violation of 35 U.S.C. § 271.
 5         14.    Regarding Claim 1, the Product is a media system. The Product includes
 6   a media system (e.g., health app) configured to allow a user to view a media file (e.g.,
 7   health data) from a medical device by a media terminal (e.g., smartphone) from a
 8   media node (e.g., medical device) over a communication network (e.g., Bluetooth
 9   network) through a communication link. Certain aspects of this element are illustrated
10   in the screenshots below and/or those provided in connection with other allegations
11   herein.
12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27
           15.    The Product includes at least one media terminal disposed in an

28
     accessible relation to at least one interactive computer network. For example, the
                                              3
                        COMPLAINT AGAINST A&D MEDICAL COMPANY, LIMITED
       Case 3:21-cv-09595-WHO Document 1 Filed 12/13/21 Page 4 of 14




 1   Bluetooth network is used for sending health data from a media node (medical device)
 2   by detecting a smartphone (at least one media terminal) when the Product’s app is
 3   installed on the smartphone and connected with the Product’s media node through a
 4   Bluetooth network (i.e., the smartphone is in an accessible relationship with the
 5   interactive computer network). Certain aspects of this element are illustrated in the
 6   screenshots below and/or in those provided in connection with other allegations
 7   herein.
 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22
           16.   A wireless range is structured to permit authorized access to the at least
23
     one interactive computer network. For example, the Bluetooth signals of the Product’s
24
     medical device (media node) have a range within which the smartphone (media
25
     terminal) may connect.
26

27

28

                                             4
                       COMPLAINT AGAINST A&D MEDICAL COMPANY, LIMITED
       Case 3:21-cv-09595-WHO Document 1 Filed 12/13/21 Page 5 of 14




 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16
           17.   At least one media node is disposable within the wireless range, wherein
17
     the at least one media node is detectable by the at least one media terminal. For
18
     example, the Product’s medical device (media node) is detectable by the media
19
     terminal (smartphone). Certain aspects of this element are illustrated in the
20
     screenshots below and/or those provided in connection with other allegations herein.
21

22

23

24

25

26

27

28

                                             5
                       COMPLAINT AGAINST A&D MEDICAL COMPANY, LIMITED
     Case 3:21-cv-09595-WHO Document 1 Filed 12/13/21 Page 6 of 14




 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                         6
                   COMPLAINT AGAINST A&D MEDICAL COMPANY, LIMITED
       Case 3:21-cv-09595-WHO Document 1 Filed 12/13/21 Page 7 of 14




 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15
           18.    At least one digital media file is initially disposed on at least one of the
16
     at least one media terminal or the at least one media node and the at least one media
17
     terminal is structured to detect the at least one media node disposed within the
18
     wireless range. For example, the health data is initially disposed on the media node
19
     (medical device/monitor) and the media terminal can detect the medical device when
20
     it is within the appropriate range. Certain aspects of this element are illustrated in the
21
     screenshots below and/or those provided in connection with other allegations herein.
22

23

24

25

26

27

28

                                              7
                        COMPLAINT AGAINST A&D MEDICAL COMPANY, LIMITED
       Case 3:21-cv-09595-WHO Document 1 Filed 12/13/21 Page 8 of 14




 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17         19.   A communication link is structured to dispose the at least one media
18   terminal and the at least one media node in a communicative relation with one another
19   via the at least one interactive computer network. For example, the smartphone and
20   medical device are in a communicative relation over the Bluetooth network.
21

22

23

24

25

26

27

28

                                             8
                       COMPLAINT AGAINST A&D MEDICAL COMPANY, LIMITED
       Case 3:21-cv-09595-WHO Document 1 Filed 12/13/21 Page 9 of 14




 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16         20.   The communication link is initiated by the at least one media terminal.
17   For example, when the user turns on Bluetooth on the smartphone (media terminal),
18   the smartphone initiates the communication link.
19

20

21

22

23

24

25

26

27

28

                                             9
                       COMPLAINT AGAINST A&D MEDICAL COMPANY, LIMITED
       Case 3:21-cv-09595-WHO Document 1 Filed 12/13/21 Page 10 of 14




 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16
           21.    The at least one media node and the at least one media terminal are
17
     structured to transmit the at least one digital media file therebetween via the
18
     communication link. For example, the smartphone/app and the medical device are
19
     structured to transmit health data from the device to the smartphone over the wireless
20
     network.
21

22

23

24

25

26

27

28

                                             10
                       COMPLAINT AGAINST A&D MEDICAL COMPANY, LIMITED
       Case 3:21-cv-09595-WHO Document 1 Filed 12/13/21 Page 11 of 14




 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16         22.    The communication link is structured to bypass at least one media
17   terminal security measure for a limited permissible use of the communication link by
18   the media node to only transferring the at least one digital media file to, and displaying
19   the at least one digital media file on, the at least one media terminal. For example, the
20   communication link is structured so that whenever the user installs the Product’s app
21   on the smartphone (media terminal), the smartphone automatically connects
22   (bypassing any security measures) with the Product’s medical device through
23   Bluetooth code (i.e., media terminal security) whenever the smartphone comes to the
24   range of the Bluetooth signals (for the limited purpose of transferring data form the
25   device to the smartphone).
26

27

28

                                              11
                        COMPLAINT AGAINST A&D MEDICAL COMPANY, LIMITED
     Case 3:21-cv-09595-WHO Document 1 Filed 12/13/21 Page 12 of 14




 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                         12
                   COMPLAINT AGAINST A&D MEDICAL COMPANY, LIMITED
       Case 3:21-cv-09595-WHO Document 1 Filed 12/13/21 Page 13 of 14




 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17         23.    Defendant’s actions complained of herein will continue unless
18   Defendant is enjoined by this court.
19         24.    Defendant’s actions complained of herein are causing irreparable harm
20   and monetary damage to Plaintiff and will continue to do so unless and until
21   Defendant is enjoined and restrained by this Court.
22         25.    Plaintiff is in compliance with 35 U.S.C. § 287.
23                                       JURY DEMAND
24         26.    Under Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff
25   respectfully requests a trial by jury on all issues so triable.
26                                  PRAYER FOR RELIEF
27         WHEREFORE, Plaintiff asks the Court to:
28         (a)    Enter judgment for Plaintiff on this Complaint on all causes of action
                                               13
                         COMPLAINT AGAINST A&D MEDICAL COMPANY, LIMITED
       Case 3:21-cv-09595-WHO Document 1 Filed 12/13/21 Page 14 of 14




 1   asserted herein;
 2         (b)    Enter an Order enjoining Defendant, its agents, officers, servants,
 3   employees, attorneys, and all persons in active concert or participation with Defendant
 4   who receive notice of the order from further infringement of United States Patent No.
 5   9,300,723 (or, in the alternative, awarding Plaintiff running royalties from the time of
 6   judgment going forward);
 7         (c)    Award Plaintiff damages resulting from Defendant’s infringement in
 8   accordance with 35 U.S.C. § 284;
 9         (d)    Award Plaintiff pre-judgment and post-judgment interest and costs; and
10         (e)    Award Plaintiff such further relief to which the Court finds Plaintiff
11   entitled under law or equity.
12

13   Dated: December 13, 2021               Respectfully submitted,
14
                                            /s/ Stephen M. Lobbin
15                                          Stephen M. Lobbin
16                                          sml@smlavvocati.com
                                            SML AVVOCATI P.C.
17                                          888 Prospect Street, Suite 200
18                                          San Diego, California 92037
                                            (949) 636-1391 (Phone)
19

20                                          Attorney(s) for Plaintiff

21

22

23

24

25

26

27

28

                                              14
                        COMPLAINT AGAINST A&D MEDICAL COMPANY, LIMITED
